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IN THE UNITED STA"I`ES DISTRICT COU.RT
FOR THE SOUTHERN DISTRICT OF 'I`EXAS

GALVESTON DIVISION

CARDLINA MAYEUX, §
Plaintiff §
§

v. § CIVIL ACTION NO. B:IE~CV-BDOSZ
§
STATE FARM LLOYDS, §
hefendant §

PLAINTIFF’S MOTION T{) VDLUNTARILY DISMISS CLAIMS WITH PREJUDICE

 

'I.“D TI-IE HONORABLE .IUDGE OF SAID CDURT:

NOW COMES Plaintiff, Carelina Mayeux, and brings this Metien to Velunterily Disnu`es
Ciaims With Prejudiee pursuant to Federel Rules of Civil Proeedure 41(3)(2). Plaintif`f dues not
desire to further pursue any claims against Defendant State Farm Lloyde in the above entitled and
numbered civil aetidn.

Plaintiff Carolina Mayeux hereby respectfully motions this Court to enter en Order

dismissing all claims asserted against Det`endant, State Fenn Lioyds, with prejudice

Respeetfully submitted,

M@ Mw#/<

Carelina Mayeux

5313 Thistle Drive
D.iekinsen, Texas 77539
Telephene: (4{]9) 739-9531
E`.rnail: emayeu@hetmeil.eum

PRO SE PLAINTIFF

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CERTIFICATE OF SERVICE

I hereby certify that I submitted the foregoing instrument with the clerk of the Court for the U.S.
Distriet Court, Southern District of Texas, Galveston Division, and served a true and correct copy
of the foregoing instrument upon ali counsel of record on this, the llth day of January, 2017 :

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Carolina Mayeux

 

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